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 4
     Attorney for Defendant
 5
     HOA TASHA KELLY
 6
                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                       ) No. 2:09-CR-422 WBS
 9
                                                     )
                                                     )
10          Plaintiff,                               ) STIPULATION AND ORDER
                                                     )
11
     v.                                              )
                                                     )
12
     SHARRIEFF et al,                                )
                                                     )
13
                                                     )
            Defendants.                              )
14
                                                     )
                                                     )
15
                                                     )
16

17
     The parties hereby stipulate the following:
18
            1. Status Conference in this matter is presently set for January 10, 2011. Counsel for the
19
                defendants and Government request that the date for status be continued to February
20
                28, 2011 at 8:30am due to ongoing settlement negotiations.
21
            2. Counsel for the parties agree that this is an appropriate exclusion of time within the
22
                meaning of Title 18, United States Code§ 3161(h)(7)(B)(iv) (continuity of counsel/
23
                reasonable time for effective preparation, specifically the parties are working towards
24
                a resolution) and Local Code T4, and agree to exclude time from the date of the filing
25
                of the order until the date of the status conference, February 28, 2011 .
26
     //
27
     //
28

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 1   //
 2   //
 3          3. The parties agree to continue the status conference to February 28, 2011 at 8:30 am.
 4
     Dated: January 6, 2011                                        //s/ Toni Carbone
 5                                                                 TONI CARBONE
                                                                   Attorney for defendant
 6                                                                 Hoa Tasha Kelly
 7
     Dated: January 6, 2011                                        //s/ Dan Koukol
 8                                                                 DAN KOUKOL
                                                                   Attorney for defendant
 9                                                                 Nakesha Sharrieff
10

11   Dated: January 6, 2011                                        //s/ Robert Holley
                                                                   ROBERT HOLLEY
12                                                                 Attorney for defendant
13
                                                                   Teaona William

14
     Dated: January 6, 2011                                        /s/ Jean Hobler_
15
                                                                   JEAN HOBLER
16                                                                 Assistant United States Attorney

17
                                                   ORDER
18

19          GOOD CAUSE APPEARING, it is hereby ordered that the date for the status conference
20   of defendants Hoa Tasha Kelly, Nakesha Sharrieff and Teaona William be continued from
21   January 10, 2011 to February 28, 2011 at 8:30 a.m. It is further ordered that this is an appropriate
22   exclusion of time within the meaning of Title 18, United States Code§ 3161(h)(7)(B)(iv)
23   (continuity of counsel/ reasonable time for effective preparation, specifically the parties are
24   working towards a resolution) and Local Code T4, and that time is excluded time from the date
25   of the filing of the order until the date of the status conference, February 28, 2011 .
26    DATED: January 7, 2011

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